                                  UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF ARIZONA


   In re:                                          §    Case No. 2:17-BK-05930-DPC
                                                   §
   TINA M CARTER                                   §
                                                   §
                                                   §
                       Debtor(s)                   §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

           Dina L. Anderson, chapter 7 trustee, submits this Final Account, Certification that the
   Estate has been Fully Administered and Application to be Discharged.

        1)       All funds on hand have been distributed in accordance with the Trustee’s Final
 Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee’s control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

        2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
 claims discharged without payment, and expenses of administration is provided below:



 Assets Abandoned:             $6,111.25               Assets Exempt:       $7,815.67
 (without deducting any secured claims)



 Total Distributions to                                Claims Discharged
 Claimants:                        $405.85             Without Payment:     $346,121.92

 Total Expenses of
 Administration:                   $206.96


         3)      Total gross receipts of $696.00 (see Exhibit 1), minus funds paid to the debtor(s)
 and third parties of $83.19 (see Exhibit 2), yielded net receipts of $612.81 from the liquidation
 of the property of the estate, which was distributed as follows:




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                                     CLAIMS             CLAIMS            CLAIMS             CLAIMS
                                   SCHEDULED           ASSERTED          ALLOWED              PAID
   Secured Claims
   (from Exhibit 3)                    $15,103.00             $0.00              $0.00              $0.00
   Priority Claims:
       Chapter 7 Admin.
       Fees and Charges                         NA         $206.96             $206.96           $206.96
        (from Exhibit 4)
       Prior Chapter Admin.
       Fees and Charges                         NA            $0.00              $0.00              $0.00
       (from Exhibit 5)
       Priority Unsecured
       Claims                                $0.00            $0.00              $0.00              $0.00
       (From Exhibit 6)
   General Unsecured
   Claims (from Exhibit 7)            $342,318.45        $58,236.97         $58,236.97           $405.85

     Total Disbursements              $357,421.45        $58,443.93         $58,443.93           $612.81

         4). This case was originally filed under chapter 7 on 05/26/2017. The case was pending
   for 18 months.

        5). All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

         6). An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

          Dated: 11/09/2018                              By: /s/ Dina L. Anderson
                                                         /Di Trustee
                                                         na
                                                         L.
                                                         An
                                                         ders
                                                         on
   STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                  EXHIBITS TO
                                                 FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                                     UNIFORM                          AMOUNT
                                                                         TRAN. CODE                       RECEIVED
 SAVINGS ONEAZ FEDERAL CREDIT UNION                                        1129-000                            $42.09
 2017 State Tax Refund                                                     1224-000                           $363.52
 Non Exempt Wages                                                          1229-000                           $290.39
 TOTAL GROSS RECEIPTS                                                                                         $696.00

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                  PAYEE                             DESCRIPTION                      UNIFORM               AMOUNT
                                                                                    TRAN. CODE                PAID
 TINA CARTER                             Funds to Third Parties                        8500-002                $83.19
 TOTAL FUNDS PAID TO                                                                                           $83.19
 DEBTOR AND THIRD PARTIES


  EXHIBIT 3 – SECURED CLAIMS

  CLAIM           CLAIMANT          UNIFORM                CLAIMS            CLAIMS   CLAIMS                CLAIMS
 NUMBER                            TRAN. CODE           SCHEDULED          ASSERTED ALLOWED                   PAID
               CITIZENS               4210-000              $15,103.00              $0.00         $0.00            $0.00
               BANK
 TOTAL SECURED CLAIMS                                       $15,103.00              $0.00         $0.00            $0.00


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

        PAYEE               UNIFORM                   CLAIMS   CLAIMS                    CLAIMS             CLAIMS
                           TRAN. CODE              SCHEDULED ASSERTED                  ALLOWED                PAID
 Dina L. Anderson,            2100-000                         NA        $153.20            $153.20           $153.20
 Trustee
 Dina L. Anderson,            2200-000                         NA         $51.41             $51.41            $51.41
 Trustee
 Independent Bank             2600-000                         NA           $0.91             $0.91                $0.91
 Integrity Bank               2600-000                         NA           $1.44             $1.44                $1.44
 TOTAL CHAPTER 7 ADMIN. FEES AND                               NA        $206.96            $206.96           $206.96
 CHARGES


  EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
  NONE


  EXHIBIT 6 – PRIORITY UNSECURED CLAIMS
  NONE

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  EXHIBIT 7 – GENERAL UNSECURED CLAIMS

  CLAIM             CLAIMANT            UNIFORM       CLAIMS         CLAIMS   CLAIMS          CLAIMS
 NUMBER                                  TRAN.     SCHEDULED       ASSERTED ALLOWED             PAID
                                         CODE
      1        TD Bank, USA by          7100-000        $401.00       $401.05      $401.05       $0.00
               American InfoSource
               LP as agent
               Clerk, US Bankruptcy     7100-001           $0.00         $0.00        $0.00      $2.79
               Court (Claim No. 1; TD
               Bank, USA by
               American InfoSource
               LP as agent)
      2        Quantum3 Group           7100-000        $934.00       $934.68      $934.68       $6.51
               LLC/MOMA Funding
               LLC
      3        Quantum3 Group           7100-000        $613.00       $613.62      $613.62       $0.00
               LLC/MOMA Funding
               LLC
               Clerk, US Bankruptcy     7100-001           $0.00         $0.00        $0.00      $4.28
               Court (Claim No. 3;
               Quantum3 Group
               LLC/MOMA Funding
               LLC)
      4        Capital One Bank         7100-000        $907.00       $907.16      $907.16       $6.32
               (USA), N.A.
      5        Capital One Bank         7100-000       $2,889.00     $2,889.50    $2,889.50     $20.14
               (USA), N.A.
      6        Navient Solutions, LLC   7100-000       $2,556.00     $3,400.80    $3,400.80     $23.70
      7        UNITED STATES            7100-000      $36,979.00    $40,306.51   $40,306.51    $280.89
               DEPARTMENT OF
               EDUCATION
      8        Ashley Funding           7100-000         $15.38        $15.38       $15.38       $0.00
               Services, LLC
               Clerk, US Bankruptcy     7100-001           $0.00         $0.00        $0.00      $0.11
               Court (Claim No. 8;
               Ashley Funding
               Services, LLC)
      9        Ashley Funding           7100-000         $10.09        $10.09       $10.09       $0.00
               Services, LLC
               Clerk, US Bankruptcy     7100-001           $0.00         $0.00        $0.00      $0.07
               Court (Claim No. 9;
               Ashley Funding
               Services, LLC)
      10       Ashley Funding           7100-000         $32.10        $32.10       $32.10       $0.00
               Services, LLC
               Clerk, US Bankruptcy     7100-001           $0.00         $0.00        $0.00      $0.22
               Court (Claim No. 10;
               Ashley Funding
               Services, LLC)


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      11       Midland Funding LLC     7100-000       $1,217.42    $1,252.42    $1,252.42     $8.73
      12       Midland Funding LLC     7100-000       $2,738.66    $2,738.66    $2,738.66    $19.09
      13       Portfolio Recovery      7100-000        $463.00      $462.52      $462.52      $0.00
               Associates, LLC
               Clerk, US Bankruptcy    7100-001           $0.00        $0.00        $0.00     $3.22
               Court (Claim No. 13;
               Portfolio Recovery
               Associates, LLC)
      14       Capital One, N.A.       7100-000       $2,791.00    $2,791.71    $2,791.71    $19.46
      15       Portfolio Recovery      7100-000       $1,481.00    $1,480.77    $1,480.77    $10.32
               Associates, LLC
               ANDREW LAWSON           7100-000        $157.50         $0.00        $0.00     $0.00
               COUNSELING
               BAYSIDE                 7100-000        $202.78         $0.00        $0.00     $0.00
               APARTMENTS
               BRADLEY                 7100-000        $283.44         $0.00        $0.00     $0.00
               FOLKESTAD MD
               COLLECTION              7100-000        $422.00         $0.00        $0.00     $0.00
               SERVICE BUR
               DELTA MGMT              7100-000         $70.16         $0.00        $0.00     $0.00
               ASSOCIATES
               DESERT VALLEY           7100-000        $303.36         $0.00        $0.00     $0.00
               PEDIATRICS
               LCA                     7100-000         $27.67         $0.00        $0.00     $0.00
               MIDLAND FUNDING         7100-000       $1,252.00        $0.00        $0.00     $0.00
               NATIONSTAR              7100-000     $262,367.00        $0.00        $0.00     $0.00
               MORTGAGE LLC
               NAVIENT                 7100-000        $765.00         $0.00        $0.00     $0.00
               PAID IN FULL            7100-000       $8,672.56        $0.00        $0.00     $0.00
               PAID IN FULL            7100-000       $2,164.52        $0.00        $0.00     $0.00
               SARAH ANN RANCH         7100-000      $10,800.00        $0.00        $0.00     $0.00
               HOMEOWNERS
               ASSOC.
               SOUTHWEST               7100-000         $34.81         $0.00        $0.00     $0.00
               DIAGNOSTIC
               IMAGING
               STANISLAUS              7100-000         $45.00         $0.00        $0.00     $0.00
               CREDIT CONTROL
               SERVICES, INC.
               SYNCHRONY               7100-000        $723.00         $0.00        $0.00     $0.00
               BANK/GAP
 TOTAL GENERAL UNSECURED CLAIMS                     $342,318.45   $58,236.97   $58,236.97   $405.85




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                                                                           FORM 1
                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                       Exhibit 8
                                                             ASSET CASES
Case No.:                    17-05930-DPC                                                        Trustee Name:                              Dina L. Anderson
Case Name:                   CARTER, TINA M                                                      Date Filed (f) or Converted (c):           05/26/2017 (f)
For the Period Ending:       11/8/2018                                                           §341(a) Meeting Date:                      07/03/2017
                                                                                                 Claims Bar Date:                           09/12/2018

                         1                               2                      3                         4                         5                        6

                 Asset Description                  Petition/           Estimated Net Value            Property               Sales/Funds             Asset Fully
                  (Scheduled and                  Unscheduled          (Value Determined by            Abandoned             Received by the       Administered (FA) /
             Unscheduled (u) Property)               Value                    Trustee,           OA =§ 554(a) abandon.           Estate              Gross Value of
                                                                      Less Liens, Exemptions,                                                       Remaining Assets
                                                                         and Other Costs)

 Ref. #
1       2015 KIA SORENTO                            $12,000.00                           $0.00                                            $0.00                     FA
2       MISCELLANEOUS                                    $700.00                         $0.00                                            $0.00                     FA
        HOUSEHOLD
        FURNISHINGS
3       MISCELLANEOUS                                    $500.00                       $100.00                                            $0.00                     FA
        CLOTHING
4       CHECKING ONEAZ                                   $111.40                         $0.00                                            $0.00                     FA
5       SAVINGS ONEAZ FEDERAL                                $42.00                     $42.09                                           $42.09                     FA
        CREDIT UNION
6       PENSION ARIZONA STATE                        Unknown                             $0.00                                            $0.00                     FA
        RETIREMENT THROUGH
        EMPLOYER
7       TERM LIFE THROUGH                            Unknown                             $0.00                                            $0.00                     FA
        EMPLOYER VOYA
8       Non Exempt Wages                    (u)          $290.39                       $290.39                                          $290.39                     FA
9       2017 State Tax Refund               (u)          $696.00                       $280.33                                          $363.52                     FA
10     CHECKING BANK OF                 (u)                  $11.25                      $0.40                                            $0.00                     FA
       AMERICA #4723
Asset Notes:  Added per Amended Sched. B (DE 11)


TOTALS (Excluding unknown value)                                                                                                        Gross Value of Remaining Assets
                                                    $14,351.04                        $713.21                                           $696.00                  $0.00




     Major Activities affecting case closing:
      11/09/2018     TDR submitted to USTO on 11/09/18


Initial Projected Date Of Final Report (TFR):        01/03/2019                                                    /s/ DINA L. ANDERSON
Current Projected Date Of Final Report (TFR):        01/03/2019                                                    DINA L. ANDERSON




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                                                                                                                                                                     Page No: 1                  Exhibit 9
                                                                                            FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          17-05930-DPC                                                                                     Trustee Name:                           Dina L. Anderson
 Case Name:                        CARTER, TINA M                                                                                   Bank Name:                              Independent Bank
Primary Taxpayer ID #:             **-***4441                                                                                       Checking Acct #:                        ******5930
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:              5/26/2017                                                                                        Blanket bond (per case limit):          $27,456,481.00
For Period Ending:                 11/8/2018                                                                                        Separate bond (if applicable):

       1                2                                   3                                      4                                                     5                        6                      7

   Transaction       Check /                         Paid to/             Description of Transaction                                 Uniform           Deposit            Disbursement                Balance
      Date            Ref. #                      Received From                                                                     Tran Code            $                     $


06/13/2018                     State of Arizona                   2017 Arizona State Tax Refund; Nonexempt assets                       *                $696.00                                             $696.00
                      {5}                                         Nonexempt bank funds                                    $42.09     1129-000                                                                $696.00
                      {8}                                         Nonexempt wages                                        $290.39     1229-000                                                                $696.00
                      {9}                                         2017 State Tax Refund                                  $363.52     1224-000                                                                $696.00
06/15/2018           1001      TINA CARTER                        Debtor's pro rata share of 2017 State tax refund                   8500-002                                          $83.19                $612.81
06/30/2018                     Integrity Bank                     Bank Service Fee                                                   2600-000                                           $0.54                $612.27
07/31/2018                     Integrity Bank                     Bank Service Fee                                                   2600-000                                           $0.90                $611.37
08/05/2018                     Independent Bank                   Bank Service Fee                                                   2600-000                                           $0.14                $611.23
08/06/2018                     Independent Bank                   Bank Service Fee                                                   2600-000                                          ($0.14)               $611.37
08/31/2018                     Independent Bank                   Bank Service Fee                                                   2600-000                                          $10.69                $600.68
09/05/2018                     Independent Bank                   Bank Service Fee                                                   2600-000                                         ($10.69)               $611.37
09/06/2018                     Independent Bank                   Bank Service Fee                                                   2600-000                                           $0.91                $610.46
10/03/2018           1002      Dina L. Anderson                   Trustee Expenses                                                   2200-000                                          $51.41                $559.05
10/03/2018           1003      Dina L. Anderson                   Trustee Compensation                                               2100-000                                         $153.20                $405.85
10/03/2018           1004      Clerk, US Bankruptcy Court         Small Dividends                                                       *                                              $10.69                $395.16
                                                                  Claim Amount                                            $(2.79)    7100-001                                                                $395.16
                                                                  Claim Amount                                            $(4.28)    7100-001                                                                $395.16
                                                                  Claim Amount                                            $(0.11)    7100-001                                                                $395.16
                                                                  Claim Amount                                            $(0.07)    7100-001                                                                $395.16
                                                                  Claim Amount                                            $(0.22)    7100-001                                                                $395.16
                                                                  Claim Amount                                            $(3.22)    7100-001                                                                $395.16
10/03/2018           1005      Quantum3 Group LLC/MOMA Funding    Claim #: 2; Distribution Dividend: 0.70%; Account                  7100-000                                           $6.51                $388.65
                               LLC                                Number: 0585 (Comenity Bank/Victoria's Secret);
10/03/2018           1006      Capital One Bank (USA), N.A.       Claim #: 4; Distribution Dividend: 0.70%; Account                  7100-000                                           $6.32                $382.33
                                                                  Number: 8729 (4928);
10/03/2018           1007      Capital One Bank (USA), N.A.       Claim #: 5; Distribution Dividend: 0.70%; Account                  7100-000                                          $20.14                $362.19
                                                                  Number: 0896 (2873);
10/03/2018           1008      Navient Solutions, LLC             Claim #: 6; Distribution Dividend: 0.70%; Account                  7100-000                                          $23.70                $338.49
                                                                  Number: 3863;
                                        Case 2:17-bk-05930-DPC        Doc 28           Filed 11/23/18                Entered 11/23/18 09:12:46                   Desc
                                                                                          Page 7 of 9                               SUBTOTALS             $696.00                     $357.51
                                                                                                                                                                      Page No: 2                  Exhibit 9
                                                                                            FORM 2
                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-05930-DPC                                                                                       Trustee Name:                           Dina L. Anderson
 Case Name:                       CARTER, TINA M                                                                                     Bank Name:                              Independent Bank
Primary Taxpayer ID #:            **-***4441                                                                                         Checking Acct #:                        ******5930
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:
For Period Beginning:             5/26/2017                                                                                          Blanket bond (per case limit):          $27,456,481.00
For Period Ending:                11/8/2018                                                                                          Separate bond (if applicable):

       1                2                                3                                         4                                                       5                       6                      7

   Transaction       Check /                          Paid to/             Description of Transaction                                 Uniform           Deposit            Disbursement                Balance
      Date            Ref. #                       Received From                                                                     Tran Code            $                     $


10/03/2018           1009      UNITED STATES DEPARTMENT OF          Claim #: 7; Distribution Dividend: 0.70%; Account                 7100-000                                          $280.89               $57.60
                               EDUCATION                            Number: 3863;
10/03/2018           1010      Midland Funding LLC                  Claim #: 11; Distribution Dividend: 0.70%; Account                7100-000                                            $8.73               $48.87
                                                                    Number: 1779 (Synchrony Bank/Amazon);
10/03/2018           1011      Midland Funding LLC                  Claim #: 12; Distribution Dividend: 0.70%; Account                7100-000                                           $19.09               $29.78
                                                                    Number: 3584 (Citibank);
10/03/2018           1012      Capital One, N.A.                    Claim #: 14; Distribution Dividend: 0.70%; Account                7100-000                                           $19.46               $10.32
                                                                    Number: 7516 (Kohl's);
10/03/2018           1013      Portfolio Recovery Associates, LLC   Claim #: 15; Distribution Dividend: 0.70%; Account                7100-000                                           $10.32                  $0.00
                                                                    Number: 2010 (Synchrony Bank/Walmart);

                                                                                      TOTALS:                                                              $696.00                      $696.00                  $0.00
                                                                                          Less: Bank transfers/CDs                                           $0.00                        $0.00
                                                                                      Subtotal                                                             $696.00                      $696.00
                                                                                          Less: Payments to debtors                                          $0.00                        $0.00
                                                                                      Net                                                                  $696.00                      $696.00



                     For the period of 5/26/2017 to 11/8/2018                                                     For the entire history of the account between 06/13/2018 to 11/8/2018

                     Total Compensable Receipts:                       $696.00                                    Total Compensable Receipts:                                          $696.00
                     Total Non-Compensable Receipts:                     $0.00                                    Total Non-Compensable Receipts:                                        $0.00
                     Total Comp/Non Comp Receipts:                     $696.00                                    Total Comp/Non Comp Receipts:                                        $696.00
                     Total Internal/Transfer Receipts:                   $0.00                                    Total Internal/Transfer Receipts:                                      $0.00


                     Total Compensable Disbursements:                  $612.81                                    Total Compensable Disbursements:                                 $612.81
                     Total Non-Compensable Disbursements:               $83.19                                    Total Non-Compensable Disbursements:                              $83.19
                     Total Comp/Non Comp Disbursements:                $696.00                                    Total Comp/Non Comp Disbursements:                               $696.00
                     Total Internal/Transfer Disbursements:              $0.00                                    Total Internal/Transfer Disbursements:                             $0.00




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                                                                                        FORM 2
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         17-05930-DPC                                                                          Trustee Name:                           Dina L. Anderson
Case Name:                       CARTER, TINA M                                                                        Bank Name:                              Independent Bank
Primary Taxpayer ID #:           **-***4441                                                                            Checking Acct #:                        ******5930
Co-Debtor Taxpayer ID #:                                                                                               Account Title:
For Period Beginning:            5/26/2017                                                                             Blanket bond (per case limit):          $27,456,481.00
For Period Ending:               11/8/2018                                                                             Separate bond (if applicable):

      1                 2                                3                                     4                                             5                       6                     7

  Transaction        Check /                         Paid to/          Description of Transaction                       Uniform           Deposit            Disbursement               Balance
     Date             Ref. #                      Received From                                                        Tran Code            $                     $




                                                                                                                                                                          NET             ACCOUNT
                                                                                 TOTAL - ALL ACCOUNTS                           NET DEPOSITS                         DISBURSE            BALANCES

                                                                                                                                             $696.00                     $696.00                  $0.00




                     For the period of 5/26/2017 to 11/8/2018                                       For the entire history of the case between 05/26/2017 to 11/8/2018

                     Total Compensable Receipts:                    $696.00                         Total Compensable Receipts:                                          $696.00
                     Total Non-Compensable Receipts:                  $0.00                         Total Non-Compensable Receipts:                                        $0.00
                     Total Comp/Non Comp Receipts:                  $696.00                         Total Comp/Non Comp Receipts:                                        $696.00
                     Total Internal/Transfer Receipts:                $0.00                         Total Internal/Transfer Receipts:                                      $0.00


                     Total Compensable Disbursements:               $612.81                         Total Compensable Disbursements:                                     $612.81
                     Total Non-Compensable Disbursements:            $83.19                         Total Non-Compensable Disbursements:                                  $83.19
                     Total Comp/Non Comp Disbursements:             $696.00                         Total Comp/Non Comp Disbursements:                                   $696.00
                     Total Internal/Transfer Disbursements:           $0.00                         Total Internal/Transfer Disbursements:                                 $0.00




                                                                                                                    /s/ DINA L. ANDERSON
                                                                                                                    DINA L. ANDERSON




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